       Dated: 3/17/2017




                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

 IN RE:                                                  )
                                                         )
 CHARLES E. WALKER,                                      )       Case No: 3:16-bk-03304
                                                         )       Chapter 11
                                                         )       Judge Mashburn
   Debtor                                                )


                 ORDER APPROVING COMPROMISE AND SETTLEMENT

                 This matter having come for hearing on the motion (the “Motion”) filed by John

 C. McLemore, chapter 11 trustee herein (“Trustee”), pursuant to section 105 of the Bankruptcy

 Code and Bankruptcy Rule 9019, for an order approving the Settlement Agreement attached as

 Exhibit A to the Motion; and no party-in-interest having timely filed a response to the Motion;

 and the Court being satisfied that the relief herein is appropriate under the circumstances; and the

 court being otherwise sufficiently advised,

                 IT IS HEREBY FOUND THAT:

          A.     The Trustee, in the proper exercise of his business judgment, determined that the

 relief afforded herein is in the best interests of the Debtor’s creditors.

                 NOW THEREFORE, IT IS HEREBY ORDERED THAT:

          1.     The Motion is granted.

          2.     The terms of the Settlement Agreement are hereby approved.




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        3.      The Court will retain jurisdiction to adjudicate any disputes that may arise under

 this order and to enforce the terms of this order.




      This order was signed and entered electronically as indicated at the top of the first page.


 AGREED TO AND
 APPROVED FOR ENTRY:

 /s/ Phillip G. Young, Jr.
 Phillip G. Young, Jr.
 Thompson Burton PLLC
 One Franklin Park
 6100 Tower Circle, Suite 200
 Franklin, TN 37067
 Tel: 615-465-6008
 phillip@thompsonburton.com

 Counsel to Trustee




                                                      2                 This Order has been electronically
                                                                        signed. The Judge's signature and
                                                                        Court's seal appear at the top of the
                                                                        first page.
                                                                        United States Bankruptcy Court.

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